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  6                            UNITED STATES DISTRICT COURT
  7                         SOUTHERN DISTRICT OF CALIFORNIA
  8
       UNITED STATES OF AMERICA,                                 CASE NOS. 12-CR-236 - IEG
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                                            Plaintiff,
 10                                                              ORDER DENYING DEFENDANT
              vs.                                                ESPUDO’S MOTION TO
 11                                                              SUPPRESS WIRETAP EVIDENCE
       RUDY ESPUDO et al.,
 12                                                              [Doc. No. 887.]
                                         Defendants.
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             Before the Court is Defendant Rudy Espudo’s motion to suppress wiretap evidence on
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      grounds that the February 25, 2011 wiretap affidavit (1) referenced sufficient evidence in the
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      Government’s possession to render a wiretap unnecessary and (2) establishes that co-defendants
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      were victims, not co-conspirators. [Doc. No. 887.] For the reasons below, his motion is
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      DENIED.
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                                              BACKGROUND
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             This case involves charges of conspiracy, racketeering, illegal drug distribution, extortion,
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      and money laundering in connection with the Mexican Mafia prison gang and several affiliated
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      Sureno street gangs operating in northern San Diego County. Defendants Espudo and Gutierrez
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      previously filed motions to suppress wiretap evidence, both of which the Court denied. [See Doc.
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      No. 785 (Espudo Mtn.); 796 (Gutierrez Mtn.); 846 (Minute Order Denying Espudo Mtn.); 857
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      (Written Order Denying Gutierrez Mtn.).] Presently before the Court is a second motion to
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      suppress by Espudo, filed on January 20, 2013. [Doc. No. 887.] The Government filed an
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      opposition brief on January 28, 2013. [Doc. No. 895.] Espudo filed a reply brief on February 3,
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      2013. [Doc. No. 898.] The Court heard oral argument on February 6, 2013. [Doc. No. 6.]
  1                                              DISCUSSION
  2          “Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§
  3   2510–2520, allows law enforcement agencies to conduct electronic surveillance of suspected
  4   criminal activities.” U.S. v. Garcia-Villalba, 585 F.3d 1223, 1227 (9th Cir. 2009). But “[t]his
  5   authority is not a blank check.” Id. Before law enforcement may resort to a wiretap, they must
  6   submit affidavits showing, inter alia, probable cause and necessity. Id.
  7          1.      Evidence Referenced in the Affidavit Rendered Wiretap Unnecessary
  8          Espudo argues that the Feb. 25 affidavit references sufficient evidence, already in the
  9   Government’s possession, to convict Espudo of extortion, and that the evidence rendered a wiretap
 10   unnecessary. [Doc. No. 887-1 at 2.] But the focus of the wiretap affidavit was broader than
 11   simple extortion by Espudo; the affidavit also alleged drug distribution, conspiracy, extortion, and
 12   money laundering crimes by over 30 other named individuals as well as others unknown at the
 13   time of the application. [See, e.g., Feb. 25 Affidavit at ¶¶14-15.] In cases such as this, “the
 14   government has a duty to extirpate conspiracy beyond its duty to prevent the mere commission of
 15   specific substantive offenses.” U.S. v. McGuire, 307 F.3d 1192, 1198 (9th Cir. 2002).
 16   Accordingly, the Ninth Circuit has “consistently upheld findings of necessity where traditional
 17   investigative techniques lead only to apprehension and prosecution of the main conspirators, but
 18   not to apprehension and prosecution of . . . other satellite conspirators.” Id. (quoting U.S. v.
 19   Torres, 908 F.2d 1417, 1422 (9th Cir. 1990). Thus, even if Espudo were correct and the wiretap
 20   was unnecessary to convict him individually of extortion, it would not render the wiretap
 21   unnecessary as to the many other named individuals and criminal activity.
 22          2.      Co-Defendants Were Victims, Not Co-Conspirators
 23          Espudo also argues that the Feb. 25 affidavit establishes that the co-defendants were
 24   victims of Espudo’s extortion, not willful co-conspirators. Again, Espudo’s premise is
 25   inconsequential; even if the co-defendants are “victims,” nothing prevents them from also being
 26   willful co-conspirators. On its face, surely criminals can also be victims, even in the conspiracy
 27   context. The Ninth Circuit has recognized as much in a variety of contexts. See, e.g., U.S. v.
 28   Kotun, 479 Fed. App’x 754, 755 (9th Cir. July 3, 2012) (“co-conspirators can be victims,


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      justifying enhancement under Sentencing Guidelines”) (citing U.S. v. Vought, 69 F.3d 1498, 1502
  1   (9th Cir. 1995)). Moreover, the present case charges a wide range of criminal conduct within
  2   several prisons and spanning a swath of San Diego County and months of investigation. Given the
  3   breath of the conspiracy as alleged, even if a defendant/victim is not a co-conspirator to certain
  4   conduct or a certain count, that defendant/victim could still be a willful co-conspirator to other
  5   conduct or counts within the scope of the conspiracy targeted by the wiretap.
  6          Espudo provides no case law to the contrary, much less support for his assertion that the
  7   “willfulness” element of a conspiracy charge is necessarily incompatible with a victim’s “extorted
  8   state of mind.” [Doc. No. 898 at 3.]1 Nor does he explain what would constitute a “victim” or an
  9   “extorted state of mind” in this context, or how either would undercut probable cause as to
 10   willfulness. [Id.] Even if status as a “victim” does weigh against a finding of willfulness, that
 11   lone consideration is more than counterbalanced by the substantial evidence incorporated in the
 12   Feb. 25 application weighing in favor of a finding of willful participation, e.g., defendants’
 13   knowledge of the conspiracy, profit motive, realized benefits, and an experienced affiant’s opinion
 14   as to the same. At bottom, Espudo’s argument finds purchase in neither case law nor common
 15   sense, but instead rests precariously on an illusory incompatibility between status as a victim and
 16   status as a co-conspirator.
 17                                              CONCLUSION
 18          Based on the foregoing, the Court hereby DENIES Espudo’s motion to suppress.
 19          IT IS SO ORDERED.
 20   DATED:       February 21, 2013                   ______________________________
 21                                                    IRMA E. GONZALEZ
                                                       United States District Judge
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                      The lone case Espudo cites in support is inapposite. [Doc. No. 898 at 3 n.4.] In Pedrina
 27   v. Chun, the Ninth Circuit held that a mayor who received campaign donations from a criminal
      enterprise, but did not otherwise participate “in the operation or management of the enterprise itself,”
 28   was not liable under RICO. 97 F.3d 1296, 1300 (9th Cir. 1996). It does not address whether the mayor
      was a “victim” in any sense, much less whether that would affect his status as a co-conspirator. Id.

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